Case 1:17-cV-06313-|LG-CLP Documentl Filed 10/30/17

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Corpomtz`on, The Firsl Liberly lnsurcmce Corporation, LM
Insurance Corporation, Liberly Mutual Mid~Allanlic Insurance
Company, Ll`berly Coumy Mul‘ual Insurance Company, LM
Properfy and Casually Insurance Company, Safeco Company
of Irza’z`ana, and Ame)"ican States Insw"ance Company

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
X

 

LIBERTY MUTUAL INSURANCE COMPANY,
LIBERTY MUTUAL FIRE INSURANCE COMPANY,
LIBERTY INSURANCE CORPORATION, THE FIRST
LIBERTY INSURANCE CORPORATION, LM
TNSURANCE CORPORATION, LIBERTY MUTUAL
MID-ATLANTIC INSURANCE COMPANY, LIBERTY
COUNTY MUTUAL INSURANCE COMPANY, LM
PROPERTY and CASUALTY INSURANCE COMPANY,
SAFECO COMPANY OF INDIANA, and AMERICAN
STATES INSURANCE COMPANY,

Plaintiffs,
-against-

WOODSIDE CHEMISTS, INC.,

RONIKA SONI, LAM C. QUAN, M.D., LEONID
REYFMAN, M.D., LEONID LITOVSKIY, P.A., ROBERT
B. LANTER, D.O., MAXIM TYORKIN, M.D., PERICLES
S. HADJIYANE, M.D., TIMOTHY CANTY, M.D., JAMES
A. GRIFFIN, P.A.

Defendants.
___ X
CQMPLAINT

 

Page 1 of 46 Page|D #: 1

Docket NO.: ( )

Plaintiffs Demand a Trial by
Jury

Case 1:17-cV-06313-|LG-CLP Document 1 Filed 10/30/17 Page 2 of 46 Page|D #: 2

Plaintiffs Liberty l\/lutual Insurance Company, Liberty Mutual Fire lnsurance Company,
Liberty Insurance Corporation, The First Liberty lnsurance Corporation, LM Insurance
Corporation, Liberty Mutual Mid-Atlantic lnsurance Company, Liberty County l\/lutual
Insurance Company, LM Property and Casualty Insurance Company, Safeco Company of
Indiana, and American States Insurance Company (collectively, “Liberty Mutual” or
“Plaintiffs”), as and for its Complaint against Defendants, hereby allege as follows:

NATURE ()F THE ACTION

l. This action seeks to recover approximately $20,500.00 that the Defendants
Wrongfully have stolen from Liberty l\/lutual, and extinguish approximately $222,400.()0 in
pending fraudulent billing, resulting from the submission of fraudulent claims seeking payment
for medically unnecessary, illusory, and formulaic compounded “pain relieving” drug products
(“Fraudulent Compounded Pain Creams”) allegedly provided to individuals involved in
automobile accidents and eligible for insurance coverage under policies of insurance issued by
Liberty l\/Iutual (“Insureds”).

2. Woodside Chemists, Inc. (“Woodside Chemists”) and its alleged owner, Ronika
Soni (“Soni”), purport to be a neighborhood pharmacy, but Woodside Chemists illegally engaged
in bulk “compounding,” exclusively dispensing large quantities of the Fraudulent Compounded
Pain Creams in set formulations, Without tailoring the medications to the individual needs of any
patient The Fraudulent Compounded Pain Creams are not approved by the United States Food
and Drug Administration (“FDA”), but Woodside Chemists, in an egregious scheme to exploit
the Insureds’ “No~Fault” insurance benefits, intentionally assembled a combination of drug
ingredients With unproven topical therapeutic effects for the sole purpose of creating exorbitantly
priced topical compounded pain cream products - for Which it billed New York State automobile

insurers approximately $2,000.00 to in excess of $6,000.()0 for a single tube. The Defendants

Case 1:17-cV-O6313-|LG-CLP Document 1 Filed 10/30/17 Page 3 of 46 Page|D #: 3

engaged in this scheme all while knowing that there were a wide range of commercially
available, FDA~approved medications with proven therapeutic effects available at a fraction of
the cost that could have been dispensed to the patients
3. To implement the fraudulent scheme, Woodside Chemists and Soni entered into
illegal, collusive arrangements involving the payment of unlawful kickbacks to licensed
physicians and/or their associates working at various multidisciplinary medical “clinics” that
treat patients with no-fault insurance benefits (the “No~Fault Clinics”), in order to generate
formulaic, coded, and unnecessary prescriptions for the Fraudulent Compounded Pain Creams.
The Fraudulent Compounded Pain Creams were produced by Woodside Chemists in large
quantities, were not medically necessary, and were dispensed solely to financially enrich the
Defendants, rather than to treat or otherwise benefit the Insureds who purportedly received them.
4. In addition to recovering damages resulting from this fraudulent scheme, Liberty
Mutual seeks a declaration that it is not legally obligated to pay Woodside Chemists
approximately $222,400.00 in pending fraudulent claims the Defendants submitted or caused to
be submitted through Woodside Chemists because:
(i) The Defendants produced and dispensed the Fraudulent Compounded Pain
Creams pursuant to predetermined fraudulent protocols solely to
financially enrich themselves, based on prescriptions solicited by
Woodside Chemists without regard for the topical efficacy of the
compounded pain creams or the availability of a wide range of
commercially available, FDA-approved medications proven to have
therapeutic effects available at a fraction of the cost;
(ii) the Defendants participated in illegal, collusive agreements in which
Woodside Chemists solicited and received formulaic, medically
unnecessary prescriptions from licensed physicians and/or their associates
for the Fraudulent Compounded Pain Creams produced by Woodside in
exchange for unlawful kickbacks paid by Woodside Chemists and its

alleged owner, Soni; and

(iii) Woodside Chemists engaged in illegal bulk compounding by producing
and exclusively dispensing large quantities of the Fraudulent Compounded

Case 1:17-cV-O6313-|LG-CLP Document 1 Filed 10/30/17 Page 4 of 46 Page|D #: 4

Pain Creams in set formulations, in violation of Federal and New York
State regulatory and licensing requirements imposed on pharmacies, drug
manufacturers and outsourcing facilities, rendering it ineligible to receive
reimbursement for No-Fault insurance benefits

5. The Defendants fall into the following categories:
(i) Woodside Chemists is a New York corporation engaged in a fraudulent
scheme in which it produces and solely dispenses the Fraudulent
Compounded Creams to patients and then submits bills to Liberty Mutual

and other New York automobile insurers for reimbursement to which it is
not entitled;

(ii) Soni is the purported owner of Woodside Chemists (Soni and Woodside
Chemists are collectively referred to as the “Pharmacy Defendants”).

(iii) Lam C. Quan, M.D. (“Quan”), Leonid Reyfman, M.D. (“Reyfman”),
Leonid Litovskiy, P.A. (“Litovskiy”), Robert B. Lanter, D.O. (“Lanter”),
Maxim Tyorkin, M.D. (“Tyorkin”), Pericles S. Hadjiyane, M.D.
(“Hadjiyane”), Timothy Canty, M.D. (“Canty”), and James A. Griffin,
P.A. (“Griffin”) (collectively, the “Prescribing Defendants”) are
physicians, physician assistants, and their associates who, in exchange for
kickbacks, prescribed, or purported to prescribe, the medically
unnecessary Fraudulent Compounded Pain Creams that are produced and
dispensed by Woodside Chemists.

6. The Defendants’ scheme began in 2015 and continues uninterrupted to the present
day. AS discussed more fully below, the Defendants at all times have known that: (i) the
Defendants produced and dispensed the Fraudulent Compounded Pain Creams pursuant to
predetermined fraudulent protocols designed solely to financially enrich themselves, based on
prescriptions solicited by Woodside Chemists, without regard for the topical efficacy of the
compounded pain creams or the availability of a wide range of commercially available, FDA-
approved medications proven to have therapeutic effects, which are available at a fraction of the
cost; (ii) the Defendants participated in illegal, collusive agreements in which Woodside
Chemists solicited and received formulaic, medically unnecessary prescriptions from licensed

physicians and/or their associates for the Fraudulent Compounded Pain Creams produced by

Woodside in exchange for unlawful kickbacks paid by Woodside Chemists and its alleged

Case 1:17-cV-O6313-|LG-CLP Document 1 Filed 10/30/17 Page 5 of 46 Page|D #: 5

owner, Soni; and (iii) Woodside Chemists engaged in illegal bulk compounding by producing
and exclusively dispensing large quantities of the Fraudulent Compounded Pain Creams in set
formulations, in violation of Federal and New York State regulatory and licensing requirements
imposed on pharmacies, drug manufacturers and outsourcing facilities, rendering it ineligible to
receive reimbursement for No-Fault benefits;

7. As such, Woodside Chemists does not now have ~ and never had - any right to be
compensated for the Fraudulent Compounded Pain Creams allegedly dispensed to Liberty
Mutual insureds The chart attached hereto as Exhibit “l” sets forth the fraudulent claims that
have been identified to-date which the Defendants submitted, or caused to be submitted, to
Liberty l\/Iutual. As a result of the Defendants’ scheme, Liberty l\/lutual has incurred damages of
approximately $20,500.00

THE PARTIES

I. Plaintiffs

8. Plaintiffs Liberty Mutual lnsurance Company and Liberty Mutual Mid-Atlantic
lnsurance Company are Massachusetts corporations with their principal place of business in
Boston, Massachusetts. Liberty l\/Iutual lnsurance Company and Liberty Mutual l\/Iid-Atlantic
lnsurance Company are authorized to conduct business and to issue policies of automobile
insurance in the State of New York.

9. Plaintiffs Liberty lnsurance Corporation, The First Liberty lnsurance Corporation
and Ll\/I lnsurance Corporation are Illinois corporations with their principal place of business in
Boston, l\/lassachusetts. Liberty lnsurance Corporation, The First Liberty lnsurance Corporation
and Ll\/l lnsurance Corporation are authorized to conduct business and to issue policies of

automobile insurance in the State of New York.

Case 1:17-cV-O6313-|LG-CLP Document 1 Filed 10/30/17 Page 6 of 46 Page|D #: 6

lO. Plaintiff Liberty Mutual Fire lnsurance Company is a Wisconsin corporation with
its principal place of business in Boston, Massachusetts. Liberty Mutual Fire lnsurance Company
is authorized to conduct business and to issue policies of automobile insurance in the State of
New York.

11. Plaintiff Liberty County Mutual lnsurance Company is a Texas corporation with
its principal place of business in Boston, Massachusetts. Liberty County Mutual lnsurance
Company is authorized to conduct business and to issue policies of automobile insurance in the
State of New York.

12. Plaintiffs LM Property and Casualty lnsurance Company, Safeco Company of
lndiana, and American States lnsurance Company are lndiana corporations with its principal
place of business in Boston, Massachusetts. LM Property and Casualty lnsurance Company,
Safeco Company of Indiana, and American States lnsurance Company are authorized to conduct
business and to issue policies of automobile insurance in the State of New York.

II. Defendants

13. Defendant Woodside Chemists is a New York corporation with its principal place
of business at 58-01 Woodside Avenue, Woodside, New York, through which the Fraudulent
Compounded Pain Creams have been billed to insurance companies including Liberty Mutual.

14. Woodside Chemists was incorporated on December 23, 2015, and from December
2015 through the present day, knowingly has submitted fraudulent claims to Liberty Mutual and
continues to seek reimbursement on unpaid fraudulent claims

15. Woodside Chemists engages in pharmaceutical compounding activities and

exclusively dispenses compounded pain creams.

Case 1:17-cV-O6313-|LG-CLP Document 1 Filed 10/30/17 Page 7 of 46 Page|D #: 7

16. Woodside Chemists is registered with New York State as a pharmacy, but is not
registered as a manufacturer or outsourcing facility and, thus, is not permitted to engage in bulk
compounding or exclusively dispense compounded pain creams.

17. Defendant Soni resides in and is citizen of New York. Soni is the owner of, listed
officer of, and registered agent for Woodside Chemists

18. Quam resides in and is a citizen of New York. Quam was licensed to practice
medicine in New York on August 8, 2006, Quam knowingly has participated in a scheme to
prescribe the Fraudulent Compounded Creams to Liberty Mutual Insureds

19. Reyfman resides in and is a citizen of New York. Reyfman was licensed to
practice medicine in New York on June 29, 2004. Reyfman knowingly has participated in a
scheme to prescribe the Fraudulent Compounded Creams to Liberty Mutual Insureds

20. Litovskiy resides in and is a citizen of New York. Litovskiy was licensed as a
physician assistant in New York on March 26, 2012. Litovskiy worked for Reyfman as a
physician assistant, and knowingly has participated in a scheme to prescribe the Fraudulent
Compounded Creams to Liberty Mutual Insureds

21. Lanter resides in and is a citizen of New York. Lanter was licensed to practice
medicine in New York on February 23, 1990. Lanter knowingly has participated in a scheme to
prescribe the Fraudulent Compounded Creams to Liberty Mutual Insureds

22. Tyorkin resides in and is a citizen of New York. Tyorkin was licensed to practice
medicine in New York on March 15, 2006. Tyorkin knowingly has participated in a scheme to
prescribe the Fraudulent Compounded Creams to Liberty Mutual Insureds

23. Hadjiyane resides in and is a citizen of New York. Hadjiyane was licensed to
practice medicine in New York on January 26, 1995. Hadjiyane knowingly has participated in a

scheme to prescribe the Fraudulent Compounded Creams to Liberty l\/lutual Insureds

Case 1:17-cV-O6313-|LG-CLP Document 1 Filed 10/30/17 Page 8 of 46 Page|D #: 8

24. Canty resides in and is a citizen of New York. Canty was licensed to practice
medicine in New York on August 30, 2005. Canty knowingly has participated in a scheme to
prescribe the Fraudulent Compounded Creams to Liberty Mutual Insureds

25. Griffin resides in and is a citizen of New York. Griffin was licensed as a
physician assistant in New York on August 24, 1979. Griffin worked for Canty as a physician
assistant, and knowingly has participated in a scheme to prescribe the Fraudulent Compounded
Creams to Liberty Mutual Insureds

JURISDICTI()N AND VENUE

26. This Court has jurisdiction over the subject matter of this action under 28 U.S.C.
§1332(a)(1) because the matter in controversy exceeds the sum or value of S75,000.00, exclusive
of interest and costs, and is between citizens of different states

27. Venue in this District is appropriate pursuant to 28 U.S.C. § 1391, as the Eastern
District of New York is the District where one or more of the Defendants reside and because this

is the District where a substantial amount of the activities forming the basis of the Complaint

 

 

occurred
ALLEGATIONS COMMGN T() ALL CLAIMS
1. An ()verview of New York’s No-b`ault Laws
28. Liberty Mutual underwrites automobile insurance in the State of New York.
29. New York’s “No-Fault” laws are designed to ensure that injured victims of motor

vehicle accidents have an efficient mechanism to pay for and receive the healthcare services that
they need. Under New York’s Comprehensive Motor Vehicle lnsurance Reparations Act (N.Y.
lns. Law §§ 5101 et_s§q.) and the regulations promulgated pursuant thereto (11 N.Y.C.R.R. §§
65 §t_se_q.)(collectively, referred to herein as the “No-Fault Laws”), automobile insurers are

required to provide Personal lnjury Protection Benefits (“No-Fault Benefits”) to lnsureds.

Case 1:17-cV-O6313-|LG-CLP Document 1 Filed 10/30/17 Page 9 of 46 Page|D #: 9

30. No-Fault Benefits include up to $50,()()().00 per lnsured for necessary expenses
that are incurred for health care goods and services

31. An lnsured can assign his or her right to No-Fault Benefits to the providers of
healthcare services in exchange for those services Pursuant to a duly executed assignment, a
healthcare provider may submit claims directly to an insurance company and receive payment
for necessary goods and medical services provided, using the claim form required by the New
York State Department of lnsurance (known as the “Verification of Treatment by Attending
Physician or Other Provider of Health Service,” or, more commonly, as an “NF-3”). In the
alternative, healthcare providers sometimes submit claims using the Health Care Financing
Administration insurance claim form (known as the “HCFA-15OO Form”).

32. Pursuant to New York’s No-Fault Laws (ll N.Y.C.R.R. § 65~3.16(a)(12)), a
healthcare provider is not eligible to receive No-Fault Benel'its if it fails to meet any applicable
New York state or local licensing requirement necessary to perform such services in New York.

33. In State Farm l\/lut. Auto. Ins. Co. v. l\/Iallela, 4 N.Y.3d 313 (2005), the New York
Court of Appeals, relying on the implementing regulation, 11 N.Y.C.R.R. § 65~3.16(a)(12),
made clear that healthcare providers that fail to comply with licensing requirements are ineligible
to collect No~Fault benefits The Court of Appeals further provided that insurers may look
beyond a facially-valid license to determine whether there was a failure to abide by state and
local law.

34. Pursuant to New York lnsurance Law § 403, the NF-3s and HCFA-lSOO Forms
submitted by a healthcare provider to Liberty Mutual, and to all other automobile insurers, must

be verified by the health care provider subject to the following warning:

Any person who knowingly and with intent to defraud any insurance company or
other person files an application for insurance or statement of claim containing
any materially false information, or conceals for the purpose of misleading,

Case 1:17-cV-O6313-|LG-CLP Document 1 Filed 10/30/17 Page 10 of 46 Page|D #: 10

information concerning any fact material thereto, commits a fraudulent insurance
act, which is a crime.

II. An Overview of Applicable Licensing Laws

35. The United States Federal Food, Drug, and Cosmetic Act (“FDCA”) authorizes
the United States Food and Drug Administration (“FDA”) to oversee the safety of food, drugs,
and cosmetics

36. Pursuant to New York Education Law § 6808, no person, firm, corporation or
association shall possess drugs, prescriptions or poisons for the purpose of compounding,
dispensing, retailing, wholesaling or manufacturing, or shall offer drugs, prescriptions or poisons
for sale at retail or wholesale unless registered by the New York State Department of Education
as a pharmacy, wholesaler, manufacturer or outsourcing facility.

37. Manufacturers and outsourcing facilities that seek to register with the New York
State Department of Education, as required by New York State Education Law § 6808, must also
register with the FDA and be listed as a manufacturer or outsourcing facility on the FDA
website.

38. Education Law § 6530(38) prohibits a licensed physician from entering into an
arrangement or agreement with a pharmacy for the compounding and/or dispensing of coded or
specially marked prescriptions while Education Law § 6811 makes it a crime for any person to
enter into an agreement with a physician (or other licensed healthcare provider) for the
compounding or dispensing of secret formula (“coded”) prescriptions

39. Education Law § 6530(18) prohibits a licensed physician from “directly or
indirectly” offering, giving, soliciting, receiving or agreeing to receive any fee or other
consideration to or from a third party in exchange for patient referrals or in connection with the

performance of professional services

10

Case 1:17-cV-O6313-|LG-CLP Document 1 Filed 10/30/17 Page 11 of 46 Page|D #: 11

40. Education Law § 6509-a, prohibits a professional licensee from “directly or
indirectly” requesting, receiving, or participating in the division, transference, assignment,
rebate, splitting, or refunding of a fee in connection with professional care or services including
services related to drugs and/or medications

41. 8 N.Y.C.R.R. § 29.1(b)(3) prohibits a professional licensee from “directly or
indirectly” offering, giving, soliciting, or receiving or agreeing to receive, any fee or other
consideration to or from a third party for the referral of a patient or client or in connection with
the performance of professional services
III. An Overview of Compounded Drug Products

42. The FDA strictly regulates over-the-counter and prescription drugs, and oversees
drug manufacturing in several ways, including testing drugs and routinely inspecting drug
manufacturing plants and outsourcing facilities engaged in the compounding of drugs

43. FDA-approved drugs require approval prior to marketing, compliance with
federal labelling laws, and they must be made and tested in accordance with good manufacturing
practice regulations (GMPS), which are federal statutes that govern the production and testing of
pharmaceutical products

44. Pursuant to Section 503A of the Federal Food, Drug and Cosmetic Act
(“FDCA”), as amended by the Compounding Quality Act, the laws applicable to drugs regulated
by the FDA, including the laws relating to the safe manufacturing of drugs, generally do not
apply to a “compounded” drug product: (l) if` the drug product is compounded for an identified
individual patient based on the receipt of a valid prescription order that a compounded product is
necessary for the identified patient, and (2) if the compounding is by a licensed pharmacist in a

state licensed pharmacy.

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Case 1:17-cV-O6313-|LG-CLP Document 1 Filed 10/30/17 Page 12 of 46 Page|D #: 12

45. The FDA defines traditional pharmacy compounding as the combining, mixing, or
altering of ingredients to create a customized medication for an individual patient in response to
a licensed practitioner’s prescription Traditional pharmacy compounding plays a role in
providing access to medications for patients with unique medical needs, which cannot otherwise
be met with a commercially available product State licensed pharmacies may compound
specified medications when an FDA~approved drug product is not available or appropriate for a
patient, including strength or route of delivery.

46. Compounded drugs are generally not FDA-approved, though they may include
FDA-approved drugs, and are generally exempt from the FDA approval process which applies to
new drugs if the drug is compounded for an identified individual patient based on the receipt of a
valid prescription, approved by the prescribing practitioner on the prescription order, that a
compounded product is necessary for the identified patient _Sg, 21 U.S.C. § 353a.

47. Unlike FDA-approved products consumers and prescribers cannot assume that
compounded drugs were made by validated processes in properly calibrated and cleaned
equipment; that the ingredients in the drug were obtained from FDA-approved sources; that
production personnel had the requisite knowledge and training; and that appropriate laboratory
testing was performed to verify the compounded drug’s potency, purity, and quality.

48. The FDA has publically expressed concern regarding large-scale drug
manufacturing under the guise of traditional small-scale pharmacy compounding For example,
the FDA has noted that poor practices on the part of bulk drug compounders can result in
contamination or products that do not possess the strength, quality, and purity required
Published reports also consistently show that compounded drugs fail to meet specifications at a

considerably higher rate than FDA-approved drugs

12

Case 1:17-cV-O6313-|LG-CLP Document 1 Filed 10/30/17 Page 13 of 46 Page|D #: 13

49. Traditional pharmacy compounding by state licensed pharmacies, therefore, is
permissible when done on a small scale by pharmacists who prepare the medication based on an
individual prescription Specifically, when compounded drugs meet the requirements of 21
U.S.C. § 353a and are compounded for an individual patient, they can be exempted from the
requirement, among others, that they be FDA~approved. _S_Y, 21 U.S.C. § 355(a) (“No person
shall introduce or deliver for introduction into interstate commerce any new drug, unless an
approval of an application filed pursuant to... this section is effective with respect to such drug”).

50. When Congress adopted 21 U.S.C. § 353a, its express intent was to “ensure
continued availability of compounded drug products as a component of individualized therapy,
while limiting the scope of compounding so as to prevent manufacturing [of drugs that would
otherwise require FDA approval] under the guise of compounding.” H.R. Rep. No. 105-399, at
94 (1997) (Conf. Rep.)(emphasis added). As Congress stated at the time:

the “exemptions in [this section] are limited to compounding for an individual
patient based on the medical need of such patient for the particular drug
compound. To qualify for the exemptions the pharmacist or physician must be
able to cite to a legitimate medical need for the compounded product that would
explain why a commercially available drug product would not be appropriate
Although recording the medical need directly on each prescription order would
not be required, this technique would be one of many acceptable ways of
documenting the medical need for each compounded drug product This medical
need would not include compounding drugs that are essentially copies of
commercially available drug products for largely economic reasons The
pharmacist may rely on appropriately documented input from the physician as to
whether a commercially available drug product is not appropriate for the
identified individual patient."
S. Rep. No. 105~43, at 67-68 (1997)(emphasis added).
51. Because compounded products are not FDA-approved, and therefore, not subject

to FDA regulations regarding quality, safety and effectiveness of manufactured drug products

they should never be prescribed as a matter of routine therapy, and should only be prescribed to

13

Case 1:17-cV-O6313-|LG-CLP Document 1 Filed 10/30/17 Page 14 of 46 Page|D #: 14

meet a legitimate specific need of an individual patient, or when all other forms of oral and/or
topical medications approved for the treatment of pain have failed.

52. Prior to receiving a prescription for any compounded drug product, a patient’s
medical records should document all other forms of FDA-approved drugs that were prescribed
and failed to treat the symptom for which the compounded drug product was then prescribed,
and/or the medical rationale that supports the otherwise premature prescription of a compounded
drug product

53. Recently, the prescription of compounded drug products and ensuing billing to
both private and public insurers has been the subject of state and federal investigations and
litigation due to increased concerns regarding fraud.

54. For example, in January 2014, the United States Attorney for the District of New
Jersey filed a criminal complaint against a defendant pharmacist, who thereafter pled guilty, in
connection with a fraudulent scheme involving payment of kickbacks to a physician in exchange
for prescriptions for compounded pain creams _See USA v. Kleyman, 1:l4~CR-598-JHR,
Docket No. l. In February 2016, the United States Attorney for the Northern District of Texas
arrested and indicted two layperson defendants who conspired with physicians and pharmacies
in a scheme involving producing, prescribing, and distributing compound creams including
payment of kickbacks to prescribing physicians and insured beneficiaries §_e_§ USA v. Cesario,
3:16~CR-060-1\/l, Docket Nos 3, 75. ln June 2016, the United States Attorney for the Middle
District of Florida indicted a physician who engaged in a fraudulent scheme with numerous co-
conspirators involving payment of kickbacks for the referral of patients and prescriptions for
compounded creams §_ee USA v. Baldizzi, 8:16CR271-l\/ISS-AEP, Docket No. l.

55. ln August 2016, the United States Attorney for the Southern District of New York

arrested and indicted more than 40 members of the Genovese, Gambino, Luchese, and Bonanno

14

Case 1:17-cV-O6313-|LG-CLP Document 1 Filed 10/30/17 Page 15 of 46 Page|D #: 15

crime families whose alleged illegal activities included “causing...corrupt doctors to issue
unnecessary and excessive prescriptions for expensive compound cream” billed to insurers §e_eJ
USA v. Parrello, 16 Crim. 522 (2016). §§ gsc U.S. Department of Health & Human Services,
Office of lnspector General, High Part D Spending on Opioids and Substantial Growth in
Compound Drugs Raise Concerns, HHS OIG Data Brief, OEl-16-00290 (June 2016); Office of
lnspector General, United States Postal Services, Worker’s Compensation Compound Drug
Costs, l\/lanagement Advisory, Report No. HR-l\/IA-l6-003 (l\/larch 14, 2016). The USPS OIG
attributed fraud as one of the causes for the “unprecedented increases” in compound drug costs
and referenced the “alarming discovery” of physicians prescribing compounded drugs to patients
whom they never examined, and fraud schemes involving physicians prescribing medically
unnecessary compound drugs in exchange for kickbacks ld.

IV. The Defendants’ Fraudulent Scheme Involving The Fraudulent Compounded
Creams

56. Beginning in 2015, and continuing uninterrupted through the present day, the
Defendants masterminded and implemented a fraudulent scheme in which the Defendants have
used Woodside Chemists to bill the New York automobile insurance industry for reimbursement
- which it is not eligible to receive - of the Fraudulent Compounded Pain Creams purportedly
provided to Insureds

57. Despite purporting to be a neighborhood pharmacy, Woodside Chemists produced
and exclusively dispensed large quantities of the Fraudulent Compounded Pain Creams which
were not approved by the FDA, in set formulations without tailoring the medications to the
individual needs of any individual patient, and without complying with licensing requirements
that are designed to ensure the quality, safety and effectiveness of bulk compounded drug

products

15

Case 1:17-cV-O6313-|LG-CLP Document 1 Filed 10/30/17 Page 16 of 46 Page|D #: 16

58. Woodside Chemists rather than dispensing commercially available, FDA~
approved medications with proven efficacy, intentionally produced and dispensed exorbitantly
priced compounded “pain creams” (i.e., the Fraudulent Compounded Pain Creams”) by
intentionally assembling combinations of expensive drug ingredients without regard to the
absence of any proven topical efficacy of the combination of ingredients for which it billed New
York automobile insurers approximately $2,000.00 to in excess of $6,000.00 for a single tube of
cream.

59. The Defendants knew that the topical efficacy of the Fraudulent Compounded
Pain Creams that Woodside Chemists produced and dispensed was unproven and knew that there
was a wide range of commercially available, FDA~approved medications proven to have
therapeutic effects available at a fraction of the cost.

60. The Defendants solely to maximize profits had Woodside Chemists engage in
illegal compounding, producing large quantities of compounded drugs in set formulations as
part of collusive arrangements made with licensed physicians and their associates (the
“Prescribing Defendants ”) to compound and dispense specially marked, formulaic prescriptions

61. Woodside Chemists unlike a legitimate licensed state licensed pharmacy,
exclusively engaged in the production and dispensation of the Fraudulent Compounded Pain
Creams

62. The Defendants intentionally utilizing the large quantity of formulaic Fraudulent
Compounded Pain Creams produced by Woodside Chemists arranged to have the Prescribing
Defendants issue “stamped” predetermined prescriptions so that the Fraudulent Compounded
Pain Creams could be dispensed and billed pursuant to the Defendants’ pre-determined,

fraudulent protocol

16

Case 1:17-cV-O6313-|LG-CLP Document 1 Filed 10/30/17 Page 17 of 46 Page|D #: 17

63. Specifically, pursuant to the Defendants’ fraudulent scheme, and in exchange for
unlawful kickbacks the Prescribing Defendants operating from No-Fault Clinics that treat
thousands of Insureds purported to prescribe the medically unnecessary and illusory Fraudulent
Compounded Pain Creams to the Insureds which in turn permitted the Defendants to bill Liberty
l\/lutual for the Fraudulent Compounded Pain Creams under the name of Woodside Chemists

64. To conceal the scheme, the Pharmacy Defendants presented Woodside Chemists
as a legitimate, neighborhood pharmacy engaged in lawful, limited pharmacy drug compounding
in response to valid prescriptions received from the Prescribing Defendants

65. Notwithstanding the Defendants’ attempt to conceal the scheme and present
Woodside Chemists as a neighborhood pharmacy, the Defendants directly violated New York
State and Federal regulatory and licensing requirements that govern large-scale drug
compounders drug manufacturers and outsourcing facilities and which prohibit collusive
arrangements for compounding and/or dispensing of coded or specially marked prescriptions ~
all of which poses a huge threat to the health and safety of the patients and general public.

66. The Fraudulent Compounded Pain Creams produced by Woodside Chemists (i)
were not medically necessary; (ii) contained a combination of ingredients that produced no
significant difference between the compounded drug and comparable commercially available
products (iii) were almost never prescribed properly under the governing regulations and (iv)
were “prescribed” and produced in large quantities without regard to medical necessity or the
regulations governing the appropriate use of compounded drug products as part of unlawful
kickback arrangements

67. ln short, the Fraudulent Compounded Pain Creams produced by Woodside

Chemists and prescribed by the physicians and their associates working in collusion with

17

Case 1:17-cV-O6313-|LG-CLP Document 1 Filed 10/30/17 Page 18 of 46 Page|D #: 18

Woodside Chemists served no purpose other than to exploit the lnsureds’ No-Fault benefits so

as to financially benefit the Defendants
A. Woodside Chemists Engaged in Large Scale Drug Compounding Activity in
Violation of New York State and Federal Law Governing Drug
Manufacturers and Outsourcing Facilities

68. As stated above, compounded drug products are only appropriate in limited
circumstances should be formulated for an individual patient’s needs upon receipt of a valid
prescription for an identified individual or a notation on a prescription stating that a compounded
product is necessary for the identified patient, and should not be prescribed and dispensed as a
matter of course.

69. The Defendants however, blatantly exploited the No-Fault insurance
reimbursement system by entering into collusive relationships involving the manufacturing,
marketing, and soliciting of prescriptions for the same set of predetermined Fraudulent
Compounded Pain Creams that were dispensed again and again to numerous Insureds involved
in minor fender-bender type accidents generating hundreds of thousands of dollars in fraudulent
billing to insurers

70. Woodside Chemists at all relevant times engaged exclusively in creating and
dispensing the Fraudulent Compounded Pain Creams

71. Woodside Chemists did not, and does not, dispense any drug products or
medications except for the Fraudulent Compounded Pain Creams

72. Woodside Chemists acting under the guise of a neighborhood pharmacy,
intentionally assembled a combination of expensive drug ingredients solely to produce

exorbitantly priced topical compounded pain creams that it could market to the Prescribing

Defendants in return for the payments of kickbacks

18

Case 1:17-cV-O6313-|LG-CLP Document 1 Filed 10/30/17 Page 19 of 46 Page|D #: 19

73. ln furtherance of the scheme, the Pharmacy Defendants gave the Prescribing
Defendants a set list of the Fraudulent Compounded Pain Creams that Woodside Chemists
created, via a series of “prescription stamps” that contained the name of the compounded pain
cream and the formulation, including the names of the particular drug ingredients and percentage
concentrations of each ingredient used.

74. For example, the Pharmacy Defendants produced, marketed and dispensed,
among others the following predetermined, formulaic Fraudulent Compounded Pain Creams:

0 BCCFGL pain cream, with the following ingredients
Baclofen
Capsaicin
Cyclobenzaprine Hydrochloride
Flurbiprofen

Gabapentin
Lidocaine

OOOOOO

0 BCFGLl\/l pain cream, with the following ingredients

Baclofen

Cyclobenzaprine Hydrochloride
Flurbiprofen

Gabapentin

Lidocaine

Menthol

OOOOOO

o DMCLT pain cream, with the following ingredients

Diclofenac Sodium

o
o Menthol

o Cyclobenzaprine Hydrochloride
o Lidocaine

O

Tetracaine Hydrochloride
0 KGBCF pain cream, with the following ingredients

Ketamine

Gabapentin

Baclofen

Cyclobenzaprine Hydrochloride
Flurbiprofen

OOOOO

19

Case 1:17-cV-06313-|LG-CLP Document 1 Filed 10/30/17 Page 20 of 46 Page|D #: 20

75. Woodside Chemists typically billed New York automobile insurers (i) $6,008.00
for single tube of the BCCFGL pain cream; (ii) $4,306.82 for a single tube of BCFGLl\/l pain
cream; (iii) $l,989.ll for a single tube of the Dl\/ICLT pain cream, and (iv) $3,971.76 for a
single tube of the KGBCF pain cream.

76. The Fraudulent Compounded Pain Creams were not created or prescribed by the
Prescribing Defendants to meet the unique needs of any individual patient.

77. lnstead, the Fraudulent Compounded Pain Creams were produced and dispensed
by Woodside Chemists in large quantities without regard to the unique needs of any individual
patient

78. As part of the collusive arrangement with the Prescribing Defendants the
Pharmacy Defendants produced and distributed the predetermined and Fraudulent Compound
Pain Creams together with a series of “prescription stamps” bearing the names ingredients and
concentrations of those predetermined and formulaic compounded products which stamps the
Prescribing Defendants then used to stamp their official New York State prescription pads to
prescribe the Fraudulent Compounded Creams to the Insureds

79. Through the use of the specially marked, or coded prescriptions with the
“prescription stamps” the Pharmacy Defendants steered the Prescribing Defendants to prescribe
the Fraudulent Compounded Pain Creams as part of a predetermined treatment, billing and
kickback scheme.

80. Despite the fact that traditional pharmacy compounding requires the combining,
mixing, or altering of ingredients to create a customized medication for an individual patient in

response to a licensed practitioner’s prescription, the prescriptions containing the “prescription

20

Case 1:17-cV-06313-|LG-CLP Document 1 Filed 10/30/17 Page 21 of 46 Page|D #: 21

stamps” indicate that the Pharmacy Defendants produced the Fraudulent Compounded Pain
Creams in bulk.

81. Accordingly, the Fraudulent Compounded Pain Creams prescribed by the
Prescribing Defendants and manufactured by the Pharmacy Defendants were not customized
for individual patients The Fraudulent Compounded Pain Creams varied only in that there were
a limited number of, predetermined Fraudulent Compounded Pain Creams from which to choose.

82. A representative sample of the standard “prescription stamps” used to prescribe
the Fraudulent Compounded Pain Creams to Insureds and which the Defendants submitted to
Liberty Mutual in support of their fraudulent billing, are annexed hereto as Exhibit “2”.

83. In addition to the “prescription stamps” the Pharmacy Defendants gave the
Prescribing Defendants pre-printed “Letter of Medical Necessity” forms bearing Woodside
Chemists’ name, address and contact information, for the Prescribing Defendants to submit to
insurers to attempt to justify the compounded drug products as medically necessary.

84. The “Letter of Medical Necessity” forms allegedly supporting the prescription of
the Fraudulent Compounded Pain Creams were created by the Pharmacy Defendants

85. The “Letter of Medical Necessity” forms allegedly supporting the prescription of
the Fraudulent Compounded Pain Creams were not created by the Prescribing Defendants

86. The “Letter of Medical Necessity” forms were actually pre-printed, boilerplate,
and required only that the prescribing physician write the name of the patient, the diagnosis
circle pre-printed treatments provided to the patient, and select one or more predetermined
reasons for prescribing the Fraudulent Compounded Pain Creams

87. A representative sample of the standard “Letter of Medical Necessity” forms used

to attempt to justify the medical necessity of the prescriptions for the Fraudulent Compounded

21

Case 1:17-cV-06313-|LG-CLP Document 1 Filed 10/30/17 Page 22 of 46 Page|D #: 22

Pain Creams to Insureds and which the Defendants submitted to Liberty Mutual in support of
their fraudulent billing, are annexed hereto as Exhibit “3”.

88. The Pharmacy Defendants not the Prescribing Defendants created the boilerplate
reasons purportedly supporting the prescription of the Fraudulent Compounded Pain Creams

which included the following:

(i) The patient has failed to improve, still has significant symptoms and
findings in spite of the use of commercial products

(ii) The patient is intolerant of commercial [sic] available products
(iii) Attempt to avoid gastrointestinal problems secondary to oral ingestion

(iv) Substantial avoidance, or reduction of systemic exposure, avoidance of
sedation, and avoidance of high serum levels of drug

(v) Reduce risk of side effects and drug interactions compared to oral
ingestion

(vi) Patient has documented difficulties ingesting oral medication

(vii) The compounded medication prescribed will work well in conjunction
with current therapies (ex: PT, Chiropractic Therapy)

(viii) To avoid or reduce the risk of addiction to oral narcotics medication

89. Through the use of the pre-printed, boilerplate Letter of l\/ledical Necessity forms
the Pharmacy Defendants steered the Prescribing Defendants to attest to the purported medical
necessity of the Fraudulent Compounded Pain Creams in order to conceal the fact that the
prescription and dispensation of the compounded drug products was part of a predetermined

treatment, billing and kickback scheme.
90. Even so, a substantial number of the “Letter of Medical Necessity” forms
submitted to Liberty l\/Iutual were incomplete or essentially blank, in that the Prescribing

Defendants often failed to list a diagnosis circle any printed treatments provided to the patient,

22

Case 1:17-eV-06313-|LG-CLP Doeument 1 Filed 10/30/17 Page 23 of 46 Page|D #: 23

and/or select one of the predetermined reasons for prescribing the Fraudulent Compounded Pain
Creams

91. What is more, even if the “Letter of Medical Necessity” forms were completed,
many of the pre-printed reasons for prescribing the Fraudulent Compounded Pain Creams would
not justify the prescription of the Fraudulent Compounded Pain Creams as medically necessary,
even if the compounded drug products had any proved efficacy and even if the reasons for
dispensing them were indicated on the “Letter of Medical Necessity” forms

92. For example, the mere fact that “[t]he compounded medication prescribed will
work well in conjunction with current therapies (ex: PT, Chiropractic Therapy)” ~ even if true -
would not make the Fraudulent Compounded Pain Creams medically necessary. Although a
traditional pharmacy compounded product may be appropriate when an FDA~approved drug
product is not available or appropriate for a patient, including strength or route of delivery, such
as in a case where a patient has unique medical needs that cannot otherwise be met with a
commercially available product, compounded drug products are not appropriate merely because
they would complement chiropractic or physical therapy services

93. What is more, and in further keeping with the fact that the Fraudulent
Compounded Pain Creams were predetermined and produced in large volumes the “Letter of
Medieal Neeessity” forms were not specific to any of the individual predetermined products

94. The “Letter of Medical Necessity” forms - which were generally incomplete ~
were designed to be nothing more than a “one size fits all” template to create the appearance of
justification for the dispensation of the predetermined Fraudulent Compounded Pain Creams in
large volumes notwithstanding that the compounded drug products were required to be

customized to meet the unique needs of an individual patient

23

Case 1:17-cV-06313-|LG-CLP Document 1 Filed 10/30/17 Page 24 of 46 Page|D #: 24

95. ln approximately one year, Woodside Chemists submitted billing to Liberty alone
with charges totaling more than $300,000,00, all of which related to the Fraudulent Compounded
Pain Creams allegedly issued to Liberty’s Insureds

96. Given that Liberty’s Insureds make up only a fraction of the New York insurance
market, it is axiomatic that the Pharmacy Defendants produce hundreds of thousands of dollars
more of the Fraudulent Compounded Pain Products during the course of approximately one year,
which they billed to other New York insurance companies

97. Woodside Chemists by exclusively creating and dispensing large volumes of the
Fraudulent Compounded Pain Creams engaged in bulk compounding activity (akin to that
engaged in by drug manufacturers and outsourcing facilities) as opposed to compounding
individual prescriptions on a case-by-case basis upon receipt of a valid prescription order.

98. 'l`he Pharmacy Defendants creation and dispensation of predetermined
compounded drug products in large volumes together with supplying pre-printed, boilerplate
“l.,ettcr of l\/ledical Necessity"' forms to the Prescribing Defendants renders Woodside Chemists
in violation of both state and federal licensing laws regulating the safe manufacturing of drugs

99. Woodside Chemists and the Fraudulent Compounded Pain Creams are not exempt
from FDA oversight and approval, and similar New York state licensing requirements applicable
to drug manufacturers and outsourcing facilities because the Fraudulent Compounded Pain
Creams were clearly not individualized and tailored to meet specific individual patient needs;
were not provided pursuant to legitimate prescriptions and were illegally compounded in set

formulations in large quantities See, 21 U.S.C. § 355 and 21 U.S.C. 353a(a).

 

100. Furthermore, as drug manufacturers and dispensers the Pharmacy Defendants

violated 21 U.S.C. § 355(a) which states that “no person shall introduce or deliver for

24

Case 1:17-cV-06313-|LG-CLP Document 1 Filed 10/30/17 Page 25 of 46 Page|D #: 25

introduction into interstate commerce any new drug” without first obtaining approval to do so by
way of an application filed with the Secretary with respect to that drug.

101. A “new drug” - as defined by 21 U.S.C. § 321(p)(l) - is “any drug...the
composition of which is such that such drug is not generally recognized...as safe and effective
for use under the conditions prescribed, recommended or suggested in the labeling thereof.”

102. Woodside Chemists’ Fraudulent Compounded Pain Creams ~ for which it has
billed Liberty Mutual hundreds of thousands of dollars - have never been FDA-approved and,
therefore, were never verified by the FDA as being safe, effective or quality products ln fact,
Woodside Chemists’ bulk compounding and dispensing of the Fraudulent Compounded Pain
Creams exposed Insureds to widespread risks including harmful contraindications, which is why
they should have only been prescribed under unique circumstances in limited circumstances

B. The Prescription and Dispensation of Woodside Chemists’ Compounded
Creams Was Contrary to Evidenced-Based Medical Practices

103. In keeping with the fact that the Fraudulent Compounded Creams were prescribed
pursuant to the Defendants’ fraudulent scheme intended to generate profits from insurers
Woodside Chemists’ Fraudulent Compounded Pain Creams (i) had no medical efficacy based on
the purported symptoms of the patients receiving the compounded products (ii) were prescribed
and administered repeatedly as first line therapy contrary to evidenced-based medical practices
and (iii) were prescribed without any legitimate reason to provide the patients with expensive
compounded products - which include drugs whose efficacy in topical form is undocumented
and unsupported - when there are many other widely accepted, proven effective alternatives with
well documented therapeutic benefits commercially available at considerably lower costs

104. Evidence-based guidelines for the treatment of acute pain do exist and should

always guide prescribing habits The World Health Organization (“WHO”) pain relief ladder

25

Case 1:17-cV-06313-|LG-CLP Document 1 Filed 10/30/17 Page 26 of 46 Page|D #: 26

recommends a non-opioid such as acetaminophen or a nonsteroidal anti-inflammatory drug
(NSAlD) for the initial management of pain NSAIDs are the most commonly prescribed
analgesic medications worldwide, and their efficacy for treating acute pain has been well
demonstrated If pain relief is not achieved, then an adjuvant oral agent may be added to the
medication regimen - including the use of muscle relaxers and medications that block
neuropathic pain transmission Finally, opiates may be prescribed for short-term, limited use.
Clinical studies of FDA-approved topieal NSAIDs have shown them to be no more effective than
placebo for treating acute pain (e.g., from strains sprains contusions or overuse injuries) in
superficial locations

105. Because compounded products like the ones dispended by Woodside Chemists
are not FDA-approved ~ and therefore not subject to FDA regulations regarding quality, safety
and effectiveness of manufactured drug products - they should never be prescribed as routine
therapy; should only be prescribed to meet a legitimate specific need of an individual patient, or
when all other forms of oral and/or topical medications approved for the treatment of pain have
failed, or there is a contraindication for use.

106. Topical compounded creams should be the last prescribed intervention after oral
medications are not tolerated or are deemed ineffective as well as any FDA-approved
manufactured topical products have also been shown to provide no pain relief to the patient

107. For a topical formulation to be effective, it must first penetrate the skin In
general, creams are less effective than gels or sprays.

108. The skin is composed of three layers: epidermis dermis and hypodermis. Within
the epidermis the stratus corneum is the outermost layer of the skin that serves as the main
barrier to drug entry. For analgesic medicines to be absorbed through the skin, they must contain

optimal drug combinations effective concentrations of each drug, and a compounding base with

26

Case 1:17-cV-06313-|LG-CLP Document 1 Filed 10/30/17 Page 27 of 46 Page|D #: 27

the appropriate physiochemical properties to facilitate absorption

109. In order for a drug to alleviate pain, it must reach nerve or tissue receptors
responsible for producing or transmitting a person’s sensation of pain

110. Oral pain relievers reduce or alleviate pain by entering the bloodstream through
the gastrointestinal system and traveling to the relevant nerve or tissue receptors Some of the
limited circumstances in which a physician would prescribe a topical medication include patients
in whom these oral medications are contraindicated - those with moderate to severe kidney or
liver dysfunction, or those with comorbidities that preclude the use of oral nonsteroidal anti-
inflammatory drugs (e.g., history of peptic ulcer disease or congestive heart failure).

1 1 l. Woodside Chemists’ Fraudulent Compounded Pain Creams contain combinations
of drugs that make no clinical sense and have no efficacious value in treating musculoskeletal
and neuropathic injuries _ even assuming that the Insureds the Prescribing Defendants treated
actually suffered from such injuries

112. There are no published, peer-reviewed, controlled studies to support that patients
who suffer from musculoskeletal pain or neuropathy have achieved any therapeutic effect from
using topical pain creams containing the drugs that are part of the Fraudulent Compounded Pain
Creams

113. Further, many of the Fraudulent Compounded Pain Creams are available in oral
formulations or are commercially available in different topical formulations These alternatives
are proven to therapeutically benefit patients with musculoskeletal and neuropathic pain, are
FDA-approved, and are commonly recommended and prescribed among healthcare providers

who utilize evidence-based medicine for their prescribing practices

27

Case 1:17-cV-06313-|LG-CLP Document 1 Filed 10/30/17 Page 28 of 46 Page|D #: 28

114. Contrary to evidenced-based medical practices the Fraudulent Compounded Pain
Creams were routinely prescribed by the Prescribing Defendants and administered as first line
therapy.

115. The Prescribing Defendants failed to practice evidence-based medicine; rather,
the Prescribing Defendants prescribed the Fraudulent Compounded Pain Creams pursuant to a
fraudulent predetermined treatment, billing and kickback protocol designed to enrich all of the

Defendants

116. lndeed, the Prescribing Defendants prescribed the Fraudulent Compounded Pain
Creams during their initial examinations and before the patient had any opportunity to improve
and/or complete any course of more conservative treatments

117. The Prescribing Defendants also failed to recommend that the Insureds first try
over-the-counter FDA-approved topical medications and assess their effectiveness prior to
prescribing the Fraudulent Compounded Pain Creams produced and dispensed by the Pharmacy

Defendants in large quantities

118. Further, the Prescribing Defendants did not document in their examination reports
that the patients were intolerant of commercially available products

119. The Prescribing Defendants did not document in their examination reports why
any compounded drug product was medically necessary, or why the particular Fraudulent
Compounded Pain Product they ultimately prescribed for the patient was medically necessary.

120. The “Letter of Medical Necessity” forms submitted with the bills to Liberty also
were not specific to any of the individual predetermined, formulaic Fraudulent Compounded

Pain Creams

28

Case 1:17-cV-06313-|LG-CLP Document 1 Filed 10/30/17 Page 29 of 46 Page|D #: 29

121. The Prescribing Defendants also failed to document in their follow up
examination reports whether the Fraudulent Compounded Pain Product prescribed to a particular
patient was actually used by the patient

122. The Prescribing Defendants also failed to document in their follow up
examination reports whether the Fraudulent Compounded Pain Product provided any pain relief
to the patient or was otherwise effective for the purpose prescribed

123. The Prescribing Defendants plainly failed to prescribe individually tailored
compounded products made for an identified individual lnsured, which produced a significant
difference between the compounded drug and a comparable commercially available product

124. Likewise, Woodside Chemists never dispensed individually tailored compounded
products made for an identified individual Insured, which produced a significant difference
between the compounded drug and a comparable commercially available product ln fact,
Woodside Chemists never dispensed any other prescriptions medications aside from the
Fraudulent Compounded Pain Creams despite purporting to be a neighborhood pharmacy.

125. The combination of drugs used in the Fraudulent Compounded Pain Creams was
merely a means for the Defendants to inflate the billing and maximize their charges to exploit
New York automobile insurance carriers as pharmacy providers are ordinarily statutorily
reimbursed for each individual ingredient contained in a compounded drug product As a result,
the more drug ingredients that Woodside Chemists included in its Fraudulent Compounded Pain
Creams the more that the Pharmacy Defendants could bill under the name of Woodside

Chemists

126. Finally, in keeping with the fact that the Fraudulent Compounded Creams were
prescribed for the financial benefit of the Defendants rather than for the benefit of the Insureds

the Prescribing Defendants routinely include multiple refills of the Fraudulent Compounded Pain

29

Case 1:17-cV-06313-|LG-CLP Document 1 Filed 10/30/17 Page 30 of 46 Page|D #: 30

Creams in their initial prescriptions - often doubling or tripling the total amounts ultimately
billed to Liberty Mutual - without regard for whether the Fraudulent Compounded Pain Creams
actually provided any therapeutic relief to the Insureds

C. The Fraudulent Compounded Pain Creams Were Prescribed and Dispensed
Without Regard to Genuine Patient Care

127. ln basic terms the goal of medical treatment is to help patients get better in a
timely manner. Notwithstanding this basic goal, the Insureds treated by the Prescribing
Defendants were virtually always subjected to a predetermined treatment protocol, which was
both unnecessarily prolonged and totally lacking in individualized care, which did not utilize
evidence based practices with the goal of the Insureds timely return to good health. Conversely,
the treatment reports almost uniformly reflected that the insureds treated by the Prescribing
Defendants did not get better, did not return to good health, and/or did not experience
improvement in their conditions such that the Insureds could terminate medical treatment
expeditiously and return to normal activity.

128. As part of the predetermined protocol, the Prescribing Defendants produced
examination reports that were generic, preprinted, and boilerplate, designed to justify continuing,
voluminous and excessive healthcare services that the No-Fault Clinic providers purported to
render to Insureds thereafter - including the prescription of Fraudulent Compounded Pain
Creams

129. Notwithstanding the creation of the examination reports the Prescribing
Defendants’ prescriptions of the Fraudulent Compounded Pain Creams were not medically
necessary and were based on a pre-determined protocol, provided without regard to the genuine

needs of the patients

30

Case 1:17-cV-06313-|LG-CLP Document 1 Filed 10/30/17 Page 31 of 46 Page|D #: 31

130. To the extent any examination was actually performed at all, the Prescribing
Defendants failed to document a detailed medical history of the patients to whom they prescribed
the Fraudulent Compounded Pain Creams Prescribing compounded products without first
taking a detailed patient history demonstrates a gross indifference to patient health and safety as
the Prescribing Defendants did not know whether the patient was currently taking any
medication or suffering from any co-morbidities that would contraindicate the use of a
compounded drug product

131. The Prescribing Defendants’ failure to document a detailed medical history of the
patients to whom they prescribed the Fraudulent Compounded Pain Creams is also indicative
that the Prescribing Defendants did not prescribe the compounded drug products to meet the
unique needs of a particular patient that could not be met with an existing FDA-approved
medication because the inadequate examinations would not be able to identify any such unique
needs

132. What is more, many of the Prescribing Defendants’ initial examination reports
and follow-up examination reports made no mention whatsoever of the specific Fraudulent
Compounded Pain Creams the Insureds were prescribed

133. The Prescribing Defendants’ inadequate initial examination and follow-up
examination reports provide further evidence that (i) the Fraudulent Compounded Pain Creams
were not medically necessary and were provided and billed for pursuant to a pre-determined
fraudulent protocol; (ii) the Fraudulent Compounded Pain Creams were not individually tailored
to meet the unique needs of a particular patient in response to a valid prescription and, therefore,
not FDA-exempt; (iii) the Pharmacy Defendants and the Prescribing Defendants were engaged

in collusive kickback arrangements and (iv) Woodside Chemists is not a neighborhood

31

Case 1:17-cV-06313-|LG-CLP Document 1 Filed 10/30/17 Page 32 of 46 Page|D #: 32

pharmacy, but a large scale manufacturer and producer of predetermined, mass produced drug

products acting in violation of law.

D. The Illegal, Collusive Kickback Arrangements Between Woodside Chemists
and the Prescribing Defendants

134. In furtherance of the fraudulent scheme, the Defendants participated in illegal,
collusive arrangements in which the Prescribing Defendants named herein, (along with the other
prescribing providers prescribed the medically unnecessary Fraudulent Compounded Pain
Creams in exchange for unlawful kickbacks paid by the Pharmacy Defendants

135. The Pharmacy Defendants arranged with various No-Fault Clinics that treat
thousands of Insureds to have the licensed physicians and/or their associates operating therefrom,
prescribe, or purport to prescribe, the medically unnecessary and illusory Fraudulent
Compounded Pain Creams to the Insureds which in turn permitted the Pharmacy Defendants to
bill Liberty l\/lutual huge sums under the name of Woodside Chemists

136. ln exchange for kickbacks paid by the Pharmacy Defendants to the Prescribing
Defendants the Prescribing Defendants prescribed, or purported to prescribe, the Fraudulent
Compounded Pain Creams to patients of the No-Fault Clinics pursuant to the Defendants’
fraudulent predetermined treatment, billing and kickback protocol, without regard to genuine
patient care, without regard to pharmacologic outcomes and without regard to cost and attention
to fiscal responsibility

137. In exchange for kickbacks paid by the Pharmacy Defendants to the Prescribing
Defendants the Prescribing Defendants prescribed, or purported to prescribe, the Fraudulent
Compounded Pain Creams to patients of the No-Fault Clinics pursuant to formulaic, coded
“prescriptions,” stamped with the name and formula of one of the Fraudulent Compounded Pain

Creams produced by Woodside Chemists

32

Case 1:17-cV-06313-|LG-CLP Document 1 Filed 10/30/17 Page 33 of 46 Page|D #: 33

138. The “stamped” prescriptions were nothing more than a “cover” for the
predetermined issuance of formulaic and unnecessary compounded pharmaceuticals designed to
exploit the patients’ No-Fault insurance benefits

139. ln faet, the Prescribing Defendants prescribed, or purport to prescribe, the
Fraudulent Compounded Pain Creams to patients of the No-Fault Clinics despite their
knowledge that the Fraudulent Compounded Pain Creams were not customized or tailored to the
individual needs of a particular patient; despite their knowledge that there were FDA-approved
drugs available and appropriate for the particular patients and despite their knowledge that the
Fraudulent Compounded Pain Creams were prescribed in large volumes without regard to
genuine patient care, without regard to pharmacologic outcomes and without regard to cost and
attention to fiscal responsibility

140. In keeping with the fact that the Fraudulent Compounded Pain Creams were
prescribed for the fmancial benefit of the Prescribing Defendants and the Pharmacy Defendants
rather than for the benefit of the Insureds the Insureds virtually never received the prescriptions
themselves to fill (even though the prescriptions were paper prescriptions) and were not given
the option to use a pharmacy of their choosing

141. The Insureds often were given the Fraudulent Compounded Pain Creams directly
from the front desk staff at the various No-Fault Clinics without ever seeing the actual
prescription Alternatively, Woodside Chemists purported to mail or deliver the Fraudulent
Compounded Pain Creams directly to the lnsureds’ homes again without the patient ever
receiving the actual written prescription

142. The Insureds often were not even aware they were to receive any medications
until they were given the Fraudulent Compounded Pain Creams by the front desk staff or

received a package containing the pain cream.

33

Case 1:17-cV-06313-|LG-CLP Document 1 Filed 10/30/17 Page 34 of 46 Page|D #: 34

143. The Prescribing Defendants did not give the Insureds the option to identify a
pharmacy of their choosing to ensure that the prescriptions were filled by Woodside Chemists
and to ensure that the Pharmacy Defendants benefitted financially from the prescriptions

144. But for the payments of kickbacks from the Pharmacy Defendants the Prescribing
Defendants had no legitimate reason to prescribe the predetermined medically unnecessary
Fraudulent Compounded Pain Creams which were not individually tailored to meet a unique
need of a particular patient, in large quantities

E. The Fraudulent Billing the Defendants Submitted or Caused to be Submitted to
Liberty Mutual

145. The maximum amount that a healthcare provider may charge for a medically
necessary compounded product is based on each individual ingredient included in the
compounded product Each prescribed ingredient, whether a brand name or generic drug,
included in a compounded product has a designated national drug code (“NDC”) - a unique 10-
digit code that identifies the drug itself, the vendor of the drug and the quantity in which the drug
was packaged Each NDC number has an assigned Average Wholesale Price (“AWP”).

146. Each NDC (and, thus the AWP) for a particular ingredient differs depending on
both the particular supplier the drug is purchased from and the quantity in which the drug is
obtained The same drug can have a different NDC number if it is purchased from a different
supplier and/or in different quantities

147. Pursuant to 12 N.Y.C.R.R. §§ 440.5(a) and (d) (the “Pharmacy Fee schedule”),
for each brand name drug included in a compounded product, a provider may charge no more
than the AWP assigned to that particular NDC on the day the drug was dispensed minus 12% of

the AWP, plus a single dispensing fee of $4.00.

34

Case 1:17-cV-06313-|LG-CLP Document 1 Filed 10/30/17 Page 35 of 46 Page|D #: 35

148. F or each generic drug included in a compounded product, the provider may
charge no more than the AWP assigned to that particular NDC on the day the drug was
dispensed minus 20% of the AWP, plus a single dispensing fee of 85.00.

149. AWP is defined by 12 N.Y.C.R.R. § 440.2(a) as:

“[t]he average wholesale price of a prescription drug as provided in the most current

release of the Red Book published by Thomson Reuters or Medi-Span Master Drug

Database by Wolters Kluwar Health or any successor publisher, on the day a prescription

drug is dispensed or other nationally recognized drug pricing index adopted by the Chair

or Chair's designee.”

150. When a pharmacist bills for dispensing compounded products it must bill based
on the actual NDC number (and the assigned AWP) of each of the ingredients dispensed as part
of the compounded product lt cannot use the NDC of the same ingredient available from a
different supplier and/or purchased in different quantities in order to inflate the assigned AWP.

151. The Pharmacy Defendants purported to provide the Fraudulent Compounded Pain
Creams - billed through Woodside Chemists - directly to Liberty Mutual Insureds and sought
reimbursement directly from Liberty Mutual pursuant to executed “Assignment of Benefit”
(“AOB”) forms With regard to compounded products Woodside Chemists’ bills list each
ingredient separately along with the corresponding charge for each. The total billed amount for
Woodside Chemists’ compounded products varies from approximately $2,000.00 to in excess of
$6,000.00 for a single Fraudulent Compounded Pain Product

152. ln support of its charges Woodside Chemists submitted: (i) the Prescribing
Defendants’ prescription forms bearing the pre-printed “prescription stamps”; (ii) the pre-
printed - and often incomplete ~ “Letters of Medical Necessity”; (iii) a “No-Fault” form, known
as an NF-3 Form, which includes the purported NDC numbers units and corresponding charges

for each ingredient in the billed-for Fraudulent Compounded Product; (iv) an invoice from

Woodside Chemists listing the quantities of the compounds in the Fraudulent Compounded Pain

35

Case 1:17-cV-06313-|LG-CLP Document 1 Filed 10/30/17 Page 36 of 46 Page|D #: 36

Creams the name of the prescribing physician, and the total amount due; and (v) the AOB in
which the lnsured assigned their benefits to Woodside Chemists

153. The NDC numbers listed on the NF-3 Forms submitted by Woodside Chemists
identify the various alleged sources from which Woodside Chemists obtains the ingredients for
its Compounded Creams and the alleged AWPs for such products

154. Notably, Woodside Chemists never submits its purchase invoices demonstrating
how much Woodside Chemists paid the supplier for the ingredients or the quantities in which the
ingredients were obtained

155. The Pharmacy Defendants purely to exploit the No-Fault reimbursement
regulations relating to pharmaceutical products intentionally assembled large combination of
drugs to produce each of the Fraudulent Compounded Pain Creams

156. The combination of numerous drugs in each of the Fraudulent Compounded Pain
Creams have no proven, documented topical therapeutic effect different than commercially
available, FDA products available at a fraction of the cost.

157. The sole reason for the Pharmacy Defendants’ intentional assembling of large
combinations of drugs was to inflate the charges and maximize their billing to exploit New York
automobile insurance carriers as pharmacy providers are ordinarily statutorily reimbursed for
each individual ingredient contained in a compounded drug product
VI. The Defendants’ Submission of Fraudulent NF-3 Forms to Liberty Mutual

158. To support the fraudulent charges statutorily prescribed claim forms for No-Fault
Benefits consistently have been submitted to Liberty Mutual by and on behalf of Woodside

Chemists seeking payment for the pharmaceuticals for which it is ineligible to received payment

36

Case 1:17-cV-06313-|LG-CLP Document 1 Filed 10/30/17 Page 37 of 46 Page|D #: 37

159.

These forms including NF-3 forms HCFA-1500` forms and other supporting

records that the Defendants submitted or caused to be submitted to Liberty Mutual, were false

and misleading in the following material respects

(i)

(ii)

(iii)

The NF-3 forms HCFA-l500 forms and other supporting records uniformly
misrepresented to Liberty Mutual that the Fraudulent Compounded Pain Creams
were medically necessary. ln fact, the Pharmacy Defendants produced and
dispensed the Fraudulent Compounded Pain Creams pursuant to predetermined
fraudulent protocols solely to financially enrich themselves based on
prescriptions solicited by Woodside Chemists without regard for the topical
efficacy of the compounded drug creams or the availability of a wide range of
commercially available, FDA-approved medications proven to have therapeutic
effects available at a fraction of the cost

The NF-3 forms HCFA-1500 forms and other supporting records uniformly
misrepresented to Liberty Mutual that the Pharmacy Defendants complied with all
material licensing laws and, therefore, are eligible to receive No-Fault Benefits
pursuant to lnsurance Law § 5102(a)(l) and 11 N.Y.C.R.R. § 65-3.16(a)(12). In
fact, the Pharmacy Defendants did not comply with all material licensing laws in
that the Defendants participated in illegal, collusive agreements in which
Woodside Chemists solicited and received formulaic and unnecessary
prescriptions from licensed physicians and/or their associates for the Fraudulent
Compounded Pain Creams exclusively produced by Woodside Chemists in
exchange for unlawful kickbacks paid by Woodside Chemists and its alleged
owner, Soni; and

The NF-3 forms HCFA-1500 forms and other supporting records uniformly
misrepresented to Liberty Mutual that the Pharmacy Defendants complied with all
material licensing laws and, therefore, are eligible to receive No-Fault Benefits
pursuant to lnsurance Law § 5102(a)(1) and ll N.Y.C.R.R. § 65-3.16(a)(l2). ln
fact, the Pharmacy Defendants did not comply with all material licensing laws in
that they engaged in illegal bulk compounding by exclusively producing and
dispensing large quantities of thc Fraudulent Compounded Pain Creams in set
formulations in violation of Federal and New York State regulatory and licensing
requirements imposed on drug manufacturers and outsourcing facilities rendering
Woodside Chemists ineligible to receive reimbursement for No-Fault insurance
benefits

VII. The Defendants’ Fraudulent Concealment and Liberty Mutual’s Justif"lable
Reliance

160.

The Defendants are legally and ethically obligated to act honestly and with

integrity in connection with the provision of pharmaceutical products to Insureds and the billing

37

Case 1:17-cV-06313-|LG-CLP Document 1 Filed 10/30/17 Page 38 of 46 Page|D #: 38

they submit or cause to be summited to Liberty Mutual seeking reimbursement for these
products

161. To induce Liberty Mutual to promptly pay the charges for the Fraudulent
Compounded Creams the Defendants have gone to great lengths to systematically conceal their
fraud

162. Specifically, the Defendants knowingly have misrepresented and concealed facts
in an effort to prevent discovery that the Defendants (i) violated licensing laws governing
manufacturers and large-scale drug outsourcing facilities of compounded drugs (ii) have been
involved in collusive, kickback arrangements to generate voluminous prescriptions pursuant to a
fraudulent pre-determined treatment, billing, and kickback protocol, without regard to genuine
patient care; and (iii) prescribed and dispensed Fraudulent Compounded Pain Creams that have
no efficacious value and grossly exceed the cost of effective FDA-approved medications and (v)
intentionally assembled large combinations of drugs into purported compounded pain creams
solely to inflate the billing to Liberty Mutual and other New York insurance companies

163. ln accordance with the No-Fault Laws Liberty Mutual either: (i) timely denied
the pending claims for No-Fault Benefits submitted through Woodside Chemists (ii) timely
issued requests for additional verification with respect to the pending claims for No-Fault
Benefits submitted through Woodside Chemists yet failed to obtain complete compliance with
the requests for additional verification; or else (iii) the time in which to deny the pending claims
for No-Fault Benefits submitted through Woodside Chemists or to request additional
verification of those claims has not yet expired

164. The Defendants have hired law firms to pursue collection of the fraudulent
charges from Liberty Mutual and other insurers These law firms routinely file expensive and

time-consuming litigation against Liberty Mutual and other insurers if the charges are not

38

Case 1:17-cV-06313-|LG-CLP Document 1 Filed 10/30/17 Page 39 of 46 Page|D #: 39

promptly paid in full. In fact, Woodside Chemists continues to have legal counsel pursue
collection against Liberty Mutual and other insurers without regard for the fact that Woodside
Chemists has been engaged in fraud

165. Liberty Mutual is under statutory and contractual obligations to promptly and
fairly process claims within 30 days The facially-valid documents that were submitted to
Liberty Mutual in support of the fraudulent charges at issue, combined with the material
misrepresentations described above, were designed to and did cause Liberty Mutual to rely upon
them. As a result, Liberty l\/lutual has incurred damages of approximately $20,500.00
representing payments made by Liberty l\/lutual based upon the fraudulent charges submitted by
the Defendants

166. Based upon the Defendants’ material misrepresentations and other affirmative
acts to conceal their fraud from Liberty l\/lutual, Liberty Mutual did not discover and could not
reasonably have discovered that its damages were attributable to fraud until shortly before it filed

this Complaint.

THE FIRST CLAIM FOR RELIEF
Against the Pharmacy Defendants
(Declaratory Judgment - 28 U.S.C. §§ 2201 and 2202)

167. Liberty l\/lutual incorporates as though fully set forth herein, each and every
allegation in the paragraphs set forth above.

168. There is an actual case in controversy between Liberty Mutual and the Defendants
regarding approximately 8222,400.00 in fraudulent billing for the Fraudulent Compounded
Creams that has been submitted to Liberty Mutual.

169. Defendants have no right to receive payment for any pending bills submitted to

Liberty Mutual because:

39

Case 1:17-cV-06313-|LG-CLP Document 1 Filed 10/30/17 Page 40 of 46 Page|D #: 40

(i) the Defendants made false and fraudulent misrepresentations to Liberty
Mutual in that the Fraudulent Compounded Pain Creams were not
medically necessary and were provided - to the extent they were provided
at all ~pursuant to predetermined fraudulent protocols designed solely to
financially enrich themselves based on prescriptions solicited by
Woodside Chemists without regard for the topical efficacy of the
compounded drug creams or the availability of a wide range of
commercially available, FDA-approved medications proven to have
therapeutic effects available at a fraction of the cost;

(ii) the Defendants engaged in illegal, collusive agreements in which
Woodside Chemists solicited and received formulaic and unnecessary
prescriptions from licensed physicians and/or their associates for the
Fraudulent Compounded Pain Creams produced by Woodside in exchange
for unlawful kickbacks paid by Woodside Chemists and its alleged owner,
Soni; and

(iii) Woodside Chemists engaged in illegal bulk compounding by exclusively
producing and dispensing large quantities of the Fraudulent Compounded
Pain Creams in set formulations in violation of Federal and New York
State regulatory and licensing requirements imposed on drug
manufacturers and outsourcing facilities rendering it ineligible to receive
reimbursement for No-Fault insurance benefits
170. Accordingly, Liberty Mutual requests a judgment pursuant to the Deelaratory
Judgment Act, 28 U.S.C. §§ 2201 and 2202, declaring that Defendants have no right to receive
payment for any pending bills submitted to Liberty Mutual.
THE SECOND CLAIM FOR RELIEF
Against All Defendants
(Common Law Fraud)
171. Liberty Mutual incorporates as though fully set forth herein, each and every
allegation in the paragraphs set forth above.
172. The Pharmacy Defendants and the Prescribing Defendants intentionally and
knowingly made false and fraudulent statements of material fact to Liberty l\/lutual and

concealed material facts from Liberty Mutual in the course of their submission of hundreds of

fraudulent charges seeking payment for the Fraudulent Compounded Creams

40

Case 1:17-cV-06313-|LG-CLP Document 1 Filed 10/30/17 Page 41 of 46 Page|D #: 41

173. The false and fraudulent statements of material fact and acts of fraudulent
concealment include: (i) in every claim, the representation that the billed-for services were
medically necessary and properly billed in accordance with the Pharmacy Fee Schedule, when in
fact the billed-for services were not medically necessary and were billed pursuant to
predetermined fraudulent protocols solely to financially enrich the Defendants based on
prescriptions solicited by Woodside Chemists without regard for the topical efficacy of the
compounded drug creams or the availability of a wide range of commercially available, FDA-
approved medications proven to have therapeutic effects available at a fraction of the cost; (ii) in
every claim, the representation that Woodside Chemists was properly licensed and, therefore,
eligible to receive No-Fault Benefits pursuant to lnsurance Law § 5102(a)(1) and ll N.Y.C.R.R.
§ 65-3.16(a)(12), when in fact the Defendants participated in illegal, collusive agreements in
which Woodside Chemists solicited and received formulaic and medically unnecessary
prescriptions from licensed physicians and/or their associates for the Fraudulent Compounded
Pain Creams produced by Woodside in exchange for unlawful kickbacks paid by Woodside
Chemists and its alleged owner, Soni; and (iii) in every claim, the representation that Woodside
Chemists was properly licensed, and therefore, eligible to receive No-Fault Benefits pursuant to
lnsurance Law § 5102(a)(l) and 11 N.Y.C.R.R. § 65-3.16(a)(12), when in fact Woodside
Chemists engaged in illegal bulk compounding by exclusively producing and dispensing large
quantities of the Fraudulent Compounded Pain Creams in set formulations in violation of
Federal and New York State regulatory and licensing requirements imposed on drug
manufacturers and outsourcing facilities rendering it ineligible to receive reimbursement for No-
Fault insurance benefits

174. The Pharmacy Defendants and Prescribing Defendants intentionally made the

above-described false and fraudulent statements and concealed material facts in a calculated

41

Case 1:17-cV-06313-|LG-CLP Document 1 Filed 10/30/17 Page 42 of 46 Page|D #: 42

effort to induce Liberty Mutual to pay charges submitted through Woodside Chemists that were
not compensable under the No-F ault Laws.

175. Liberty Mutual has been injured in its business and property by reason of the
above-described conduct in that it has paid approximately 820,500.00 pursuant to the fraudulent
bills submitted, or caused to be submitted, by the Defendants through Woodside Chemists

176. The Defendants’ extensive fraudulent conduct demonstrates a high degree of
moral turpitude and wanton dishonesty that entitles Liberty Mutual to recover punitive damages

177. Accordingly, by virtue of the foregoing, Liberty Mutual is entitled to
compensatory and punitive damages together with interest and costs and any other relief the

Court deems just and proper.
THE THIRD CLAIM FOR RELIEF
Against the Prescribing Defendants
(Aiding and Abetting Fraud)
178. Liberty l\/lutual incorporates as though fully set forth herein, each and every
allegation set forth above.
179. The Prescribing Defendants knowingly aided and abetted the fraudulent scheme
that was perpetrated on Liberty Mutual by the Pharmacy Defendants
180. The acts of the Prescribing Defendants in furtherance of the fraudulent scheme
include knowingly purporting to prescribe the Fraudulent Compounded Creams and permitting
their names to be used in the billing, prescription records and treatment reports submitted in
support of the Fraudulent Compounded Pain Creams despite their knowledge that Woodside
Chemists was ineligible to bill for or to collect No-Fault Benefits in connection with the
Fraudulent Services because: (i) the Defendants produced and dispensed the Fraudulent

Compounded Pain Creams pursuant to predetermined fraudulent protocols solely to financially

enrich themselves based on prescriptions solicited by Woodside Chemists without regard for the

42

 

Case 1:17-cV-06313-|LG-CLP Document 1 Filed 10/30/17 Page 43 of 46 Page|D #: 43

topical efficacy of the compounded drug creams or the availability of a wide range of
commercially available, FDA-approved medications proven to have therapeutic effects available
at a fraction of the cost; (ii) the Defendants participated in illegal, collusive agreements in which
Woodside Chemists solicited and received formulaic and medically unnecessary prescriptions
from licensed physicians and/or their associates for the Fraudulent Compounded Pain Creams
produced by Woodside in exchange for unlawful kickbacks paid by Woodside Chemists and its
alleged owner, Soni; and (iii) Woodside Chemists engaged in illegal bulk compounding by
exclusively creating and dispensing large quantities of the Fraudulent Compounded Pain Creams
in set formulations in violation of Federal and New York State regulatory and licensing
requirements imposed on drug manufacturers and outsourcing facilities rendering it ineligible to
receive reimbursement for No-F ault insurance benefits

181. The conduct of the Prescribing Defendants in furtherance of the fraudulent
scheme was significant and material. The conduct of the Prescribing Defendants was a
necessary part of and was critical to the success of the fraudulent scheme because without their
actions there would be no opportunity for Woodside Chemists to obtain payment from Liberty
Mutual and from other insurers

182. The Prescribing Defendants aided and abetted the fraudulent scheme in a
calculated effort to induce Liberty Mutual into paying charges to Woodside Chemists for
medically unnecessary and illusory Fraudulent Compounded Creams that were not compensable
under the No-Fault Laws because they sought to continue profiting through the fraudulent
scheme.

183. The conduct of the Prescribing Defendants caused Liberty Mutual to pay
approximately $20,500.00 pursuant to the fraudulent bills that the Defendants submitted or

caused to be submitted through Woodside Chemists

43

Case 1:17-cV-06313-|LG-CLP Document 1 Filed 10/30/17 Page 44 of 46 Page|D #: 44

184. The Defendants’ extensive fraudulent conduct demonstrates a high degree of
moral turpitude and wanton dishonesty that entitles Liberty Mutual to recover punitive damages

185. Accordingly, by virtue of the foregoing, Liberty Mutual is entitled to
compensatory and punitive damages together with interest and costs and any other relief the

Court deems just and proper.

THE F()URTH CLAIM FOR RELIEF
Against All Defendants
(Unjust Enrichment)

186. Liberty l\/lutual incorporates as though fully set forth herein, each and every
allegation in the paragraphs set forth above.

187. As set forth above, the Pharmacy Defendants and the Prescribing Defendants have
engaged in improper, unlawful, and/or unjust acts all to the harm and detriment of Liberty
Mutual.

188. When Liberty Mutual paid the bills and charges submitted by or on behalf of
Woodside Chemists for No-Fault Benefits, it reasonably believed that it was legally obligated to
make such payments based on the Defendants’ improper, unlawful, and/or unjust acts

189. The Defendants have been enriched at Liberty l\/lutual’s expense by Liberty
l\/lutual’s payments which constituted a benefit that Defendants voluntarily accepted and
profited from, as a result of, among other things the payments received and the receipt of
kickback payments notwithstanding their improper, unlawful, and unjust fraudulent billing
scheme.

190. Defendants’ retention of Liberty Mutual’s payments violates fundamental
principles ofjustice, equity and good conscience

191. By reason of the above, the Defendants have been unjustly enriched in an amount

to be determined at trial, but in the approximate amount of $20,500.00

44

Case 1:17-cV-06313-|LG-CLP Document 1 Filed 10/30/17 Page 45 of 46 Page|D #: 45

JURY DEMAND

192. Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiffs demands a trial by
jury.

WHEREF()RE, Plaintiffs Liberty Mutual lnsurance Company, Liberty Mutual Fire
lnsurance Company, Liberty lnsurance Corporation, The First Liberty lnsurance Corporation,
Ll\/l lnsurance Corporation, Liberty Mutual Mid-Atlantic lnsurance Company, Liberty County
Mutual lnsurance Company, Ll\/I Property and Casualty lnsurance Company, Safeco Company
of Indiana, and American States lnsurance Company demand that a judgment be entered in their
favor and against the Defendants as follows

A. On the First Claim for Relief against the Pharmacy Defendants a declaration
pursuant to the Declaratory Judgment Act, 28 U.S.C. §§ 2201 and 2202, that Defendants
including Woodside Chemists have no right to receive payment for any pending bills
amounting to approximately $222,400.00, submitted to Liberty l\/lutual;

B. On the Second Claim For Relief against the Pharmacy Defendants and the
Prescribing Defendants compensatory damages in favor of Liberty Mutual in an amount to be
determined at trial but approximately $20,500.00, together with punitive damages costs interest
and such other and further relief as this Court deems just and proper;

C. On the Third Claim For Relief against the Prescribing Defendants compensatory
damages in favor of Liberty Mutual in an amount to be determined at trial but approximately
$20,500.00, together with punitive damages costs interest and such other and further relief as
this Court deems just and proper; and

D. On the Fourth Claim for Relief against the all Defendants a recovery in favor of

Liberty Mutual in an amount to be determined at trial but approximately 820,500, together with

45

Case 1:17-cV-06313-|LG-CLP Document 1 Filed 10/30/17 Page 46 of 46 Page|D #: 46

punitive damages costs interest and such other and further relief as this Court deems just and

proper.

Dated: Uniondale, New York
October 27, 2017

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46

